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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10   CRAIG SHULTS,                     Case No. 8:19-CV-00587-JLS
11            Petitioner,
          v.                           JUDGMENT
12
     UNITED STATES OF AMERICA,
13
              Respondent.
14   JOSEPH HAYMORE,                   Case No. 8:19-CV-00361-JLS
15            Petitioner,
16        v.                           JUDGMENT
     UNITED STATES OF AMERICA,
17
              Respondent.
18
     PAUL LICAUSI,                     Case No. 8:19-CV-00416-JLS
19            Petitioner,
20        v.                           JUDGMENT
21   UNITED STATES OF AMERICA,
              Respondent.
22
     SYLVIA MELKONIAN,                 Case No. 8:19-CV-02095-JLS
23
              Petitioner,
24        v.                           JUDGMENT
25   UNITED STATES OF AMERICA,
26            Respondent.
27
28
     Case 8:19-cv-00361-JLS Document 16 Filed 11/04/20 Page 2 of 2 Page ID #:437



1          IT IS ADJUDGED that the petitions in the above-captioned matters are
2    dismissed, and the actions are dismissed with prejudice.
3          The Clerk shall close these cases.
4          DATED: November 4, 2020
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                                           Hon. Josephine L. Staton
7                                          United States District Judge
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